  Case 9:06-cv-00075-JVS Document 27 Filed 09/21/06 Page 1 of 8




                                              2i36 SEP 21 :-:?I 8 11




                     UNITED STATES DISTRICT COURT
                             DISTRICT OF MONTANA
                                 MISSOULA DMSION


Jerrold G. Cooley, et a].,
                    Plaintiff,
                                        1   CASE NO. CV 06-75-M-JVS
                                            INITIAL ORDER FOLLOWING
                                            FILING OF COMPLAINT ASSIGNED
                                            TO JUDGE SELNA
City of Missoula, et al.,
                    Defendant.




             COUNSEL FOR PLAINTIFF SHALL SERVE THIS ORDER ON
ALL DEFENDANTS AND/OR THEIR COUNSEL ALONG WITH THE
SUMMONS AND COMPLAINT, OR IF THAT IS NOT PRACTICABLE AS
SOON AS POSSIBLE THEREAFTER. IF THIS CASE WAS ASSIGNED TO
THIS COURT AFTER BEING REMOVED FROM STATE COURT, THE
DEFENDANT WHO REMOVED THE CASE SHALL SERVE THIS ORDER
ON ALL OTHER PARTIES.
             This case has been assigned to the calendar of Judge James V. Selna.
The intent of this Order is to ensure that this case will proceed so as "to secure [a]
 Case 9:06-cv-00075-JVS Document 27 Filed 09/21/06 Page 2 of 8




just, speedy and inexpensive determination." (Fed.R.Civ. P., Rule 1.)
      A.     TrZE COURT'S ORDERS


             Copies of Judge Selna's orders that may have specific application to
this case are available on the Central District of California website.   7 N.
Those orders include the following:


             (1)    Order Setting Rule 26(f) Scheduling Conference
             (2)    Order re Civil Jury Trials
             (3)    Order re Civil Court Trials
             (4)    Order re RICO Case Statement


      B.     SERVICE OF PLEADINGS


             Although Fed.R.Civ.P., Rule 4(m) does not require the summons and
complaint to be served for as much as 120 days, the Court expects that they will
be served much sooner than that, and will require plaintiff to show cause before
then if it appears that there is undue delay.


      C.     ASSIGNMENT TO A MAGISTRATE JUDGE


             Under 28 U.S.C.     636, the parties may consent to have a Magistrate
Judge preside over all proceedings, including trial. The Magistrate Judges who
accept those designations are identified on the Central District's website, which
also contains the consent form. &g 7 N.


      D.     EX PARTE PRACTICE
 Case 9:06-cv-00075-JVS Document 27 Filed 09/21/06 Page 3 of 8



             Ex parte applications are solely for extraordinary relief and should
be used with discretion. See Mission Power Endneering Company v,
                      Co., 883 F. Supp. 488 (C. D. Cal. 1995). The Court will
generally decide ex parte matters on the papers. Opposition to an aparte
application, if any, should be submitted within 24 hours.


      E.     APPLICATIONS AND STIPULATIONS FOR EXTENSIONS
             OF TIME


             No stipulations extending scheduling requirements or modifying
applicable rules are effective until and unless the Court approves them. Both
applications and stipulations must set forth:


             1. the existing due date or hearing date;


             2.   specific, concrete reasons supporting good cause for granting the
extension. In this regard, a statement that an extension "will promote settlementy'
is insufficient. The requesting party or parties must indicate the status of ongoing
negotiations: have written proposals been exchanged? Is counsel in the process of
reviewing a draft settlement agreement? Has a mediator been selected?


             3. whether there have been prior requests for extensions, and
whether these were granted or denied by the Court.


      F.     TRO'S AND INJUNCTI0N;S


      Parties seeking emergency or provisional relief shall comply with
F.R.Civ.P., Rule 65 and Local Rule 65. The Court will not rule on any
     Case 9:06-cv-00075-JVS Document 27 Filed 09/21/06 Page 4 of 8



    application for such relief for at least 24 hours after the party subject to the
    requested order has been served; such party may file opposing or responding
    papers in the interim.


          G.     CASES REMOVED FROM STATE COURT


                 All documents filed in state court, including documents appended to
    the complaint, answers and motions, must be refiled in this Court as a supplement
    to the Notice of Renewal, if not already included.       28 U. S.C.   9 1447(a),(b). If
' the defendant has not yet answered or moved, the answer or responsive pleading
    filed in this Court must comply with the Federal Rules of Civil Procedure and the
    Local Rules of the Central District. If before the case was removed a motion was
    pending in state court, it must be re-noticed in accordance with Local Rule 7.


1         H.     STATUS OF FICTITIOUSLY NAMED DEPENDANTS


                 This Court intends to adhere to the following procedures where a mat
    is removed to this Court on diversity grounds with fictitiously named defendants
    referred to in the complaint. (& 28 U.S.C.     77 1441(a) and 1447.)

                  I.    Plaintiff is normally expected to ascertain the identity of and
    serve any fictitiously named defendants within 120 days of the removal of the actic
    to this Court.


                 2.     If plaintiff believes (by reason of the necessity for discovery or
    otherwise) that fictitiously named defendants cannot be hlly identified within the
    120-day period, an ex parte application requesting permission to extend that perioc
    to effectuate service may be filed with this Court. Such application shall state the
 Case 9:06-cv-00075-JVS Document 27 Filed 09/21/06 Page 5 of 8



reasons therefor, and may be granted upon a showing of good cause. The exparte
                                                                                          I
application shall be served upon all appearing parties, and shall state that appearin
parties may comment within seven (7) days of the filing of the exparte application.
                                                                                       4
                3.    Ifplaintiff desires to substitute a named defendant for one of the
fictitiously named parties, plaintiff fust shall seek to obtain consent from counsel
for the previously-identified defendants (and counsel for the fictitiously named
party, if that party has separate counsel). If consent is withheld or denied, plaintiff
may apply ex parte requesting such amendment, with notice to all appearing
parties. Each party shall have seven calendar days to respond. The exparte
application and any response should comment not only on the substitution of the
named party for a fictitiously named defendant, but on the question of whether the
matter should thereafter be remanded to the Superior Court if diversity of
citizenship is destroyed by the addition of the new substituted party.       U.S.C. 5
1447(c), (dl.


      I.        BANKRUPTCY APPEALS

                Counsel shall comply with the ORDER RE PROCEDURE TO BE
FOLLOWED IN APPEAL FROM BANKRUPTCY COURT issued at the time the
appeal is filed in the District Court.


      J.        MOTIONS UNDER FED.RC1V.P.. Rule 12


                Many motions to dismiss or to strike could be avoided if the parties
confer in good faith (as they are required to do under L.R. 7-3), especially for
perceived defects in a complaint, answer or counterclaim which could be corrected
by amendment. See Chang v. Chen, 80 F.3d 1293, 1296 (9th Cir. 1996) (where a
 Case 9:06-cv-00075-JVS Document 27 Filed 09/21/06 Page 6 of 8



motion to dismiss is granted, a district court should provide leave to amend unless
it is clear that the complaint could not be saved by any amendment). Moreover, a
party has the right to amend his complaint "once as a matter of course at any time
before a responsive pleading is served." Fed.R.Civ.P., Rule 15(a). A 12(b)(6)
motion is not a responsive pleading and therefore plaintiff might have a right to
amend. See,-                     450 F.2d 958,958-59 (9th Cir. 1971); &
Michael's Convalescent Hospital v. California, 643 F.2d 1369, 1374 (9th Cir.
1981). And even where a party has amended his Complaint once or a responsive
pleading has been served, the Federal Rules provide that leave to amend should be
"freely given when justice so requires." F.R.Civ.P., Rule 15(a). The Ninth Circuit
requires that this policy favoring amendment be applied with "extreme liberality."
Moronao Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990).


             These principles require that counsel for the plaintiff should carefully
evaluate the defendant's contentions as to the deficiencies in the complaint and tha
in many instances the moving party should agree to any amendment that would
cure a curable defect.


             In the unlikely event that motions under Rule 12 challenging
pleadings are filed after the Rule 26(f) Scheduling Conference, the moving party
shall attach a copy of the challenged pleading to the Memorandum of Points and
Authorities in support of the motion.


             The foregoing provisions apply as well to motions to dismiss a
counterclaim, answer or aflknative defense, which a plaintiff might contemplate
bringing.


      K.    REOWIREMENTS FOR BRIEFS
  Case 9:06-cv-00075-JVS Document 27 Filed 09/21/06 Page 7 of 8



              In adhtion to the requirements in Local Rule 11-4, the Court requires
the following for all briefs:


              1. No footnote shall exceed 5 lines. The Court strongly discourages
the use of extensive footnotes as a subterfuge to avoid page limitations in the Loca
Rules.


              2. All footnotes shall be in the same type size as text. See Local Rule
11-3.1.1.


              3. Each case cited shall include a jump cite to the page or pages wherl
the relevant authority appears (u,
                                 United States v. Doe, 500 U. S. 1,14,17
(1997)).


Failure to follow these requirements may result in rejection of a brief for
correction.


         L.   LEAD COUNSEL


              Lead counsel shall appear on all dispositive motions, scheduling
conferences, and settlement conferences.


         M. COMPUTER DISKS


              When the Court requires that a computer disk be submitted (e.g.,with
summaryjudgment papers or proposed jury instructions), that disk should be left ir
a labeled enveIope and lodged with the clerk. The disk should be formatted in
WordPerfect9.
 Case 9:06-cv-00075-JVS Document 27 Filed 09/21/06 Page 8 of 8



      N.    WEBSITE


               Copies of this Order and other orders of this Court are available on tht
Central District of California's website, at "www.cacd.uscourts.gov" at Judge
Selna's home page located under "Judge's Procedures and Schedules."


      0.       TENTATIVES-DAY OF HEARING AND WEB POSTING


      The Court attempts to issue tentative rulings on each motion. Tentatives wil
be posted on the Court's website: www.cadc.uscourts.gov/. From the home page,
click on "Judges' Procedures and Schedules" in the left column. From the list,
click on "Hon. James V. Selna," which will take you to Judge Selna's page. Click
on the red notice in the upper left: "Click here to view Tentative Rulings." Then
click on the desired ruling which comes up in a .pdf file which can be read with an
Adobe Acrobat reader. Judge Selna attempts to post tentatives by late Friday
afternoon preceding the hearing date. Hard copies of tentatives will also be
available from the clerk approximately 15 minutes before the hearing.


               The Court thanks counsel and the parties for their anticipated
cooperation.


               IT IS SO ORDERED.


Dated: September 20,2006
